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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   TRENTON DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non-Profit Corporation, and RONALD
MOORE, Individually,

               Plaintiffs,
vs.                                                           Case No.: 3:18-cv-00406

SYNDALE CORP., a New Jersey Corporation,

            Defendant.
_________________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

       THIS MATTER is before the Court upon the Stipulation for Dismissal With Prejudice.

The Court having carefully reviewed said Stipulation and after due consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.      The Stipulation For Dismissal With Prejudice filed herein by the Plaintiffs, and

the Defendant, be and the same is hereby approved;

       2.      The above-styled cause be and the same is hereby DISMISSED with prejudice;

       3.      The Court retains jurisdiction of the above-styled cause solely for the purpose of

enforcing the Settlement Agreement; and

       4.       To the extent not otherwise disposed of herein, all pending Motions are hereby

DENIED as moot.

       DONE AND ORDERED in Chambers at __________, ______________, this _____ day

of _____________, 2018.

                                             _________________________________
                                             UNITED STATES DISTRICT JUDGE

Copies furnished to:
Attorneys of record
